                     Case 2:20-cv-08837-SVW-MAA Document 47 Filed 12/18/20 Page 1 of 2 Page ID #:400



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                                  UNREALISTIC IDEAS, LLC;
                              7   PIECE OF WORK PRODUCTIONS,
                                  LLC; and ARCHIE GIPS
                              8
                              9                            UNITED STATES DISTRICT COURT
                           10                             CENTRAL DISTRICT OF CALIFORNIA
                           11
                           12     JERRY A. SPOLAR, an individual; and     Case No.: 2:20-cv-08837-SVW-MAA
                                  TONNY JILL WILLIAMSON, an
                           13     individual,                             Assigned to Hon. Stephen V. Wilson
                           14                    Plaintiffs,
                                                                          NOTICE OF WITHDRAWAL OF
                           15              v.                             DEFENDANTS UNREALISTIC
                                                                          IDEAS, LLC’S, PIECE OF WORK
                           16     DISCOVERY COMMUNICATIONS,               PRODUCTIONS, LLC’S, AND
                                  LLC, a Delaware limited liability       ARCHIE GIPS’ MOTION TO
                           17     company; UNREALISTIC IDEAS,             DISMISS PURSUANT TO FED. R.
                                  LLC, a Delaware limited liability       CIV. PROC. 12(B)(6)
                           18     company; PIECE OF WORK
                                  PRODUCTIONS, LLC, a California          Date:     January 25, 2021
                           19     limited liability company; ARCHIE       Time:     1:30 p.m.
                                  GIPS, an individual; WHITNY             Courtroom:      10A
                           20     BRAUN, an individual; JAMES
                                  BRAUN, an individual; and DOES 1
                           21     through 25,                             Complaint Filed: September 25, 2020
                                                                          Trial Date: None Set
                           22                    Defendants.
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      Loeb & Loeb                 19983835.1                                     NOTICE OF WITHDRAWAL OF MOTION
A Limited Liability Partnership
    Including Professional        236428-10001                                                        TO DISMISS
         Corporations
                     Case 2:20-cv-08837-SVW-MAA Document 47 Filed 12/18/20 Page 2 of 2 Page ID #:401



                              1            TO ALL PARTIES AND THIS HONORABLE COURT:
                              2            PLEASE TAKE NOTICE that, in light of the Court’s granting of the
                              3   stipulation to extend Defendants Unrealistic Ideas, LLC’s, Piece of Work
                              4   Productions, LLC’s, and Archie Gips’ (collectively, the “Unrealistic Defendants”)
                              5   time to respond to Plaintiffs Jerry A. Spolar’s and Tonny Jill Williamson’s
                              6   (collectively, “Plaintiffs”) Complaint to January 20, 2021 (see Dkt. No. 38), the
                              7   Unrealistic Defendants hereby withdraw their Motion to Dismiss Pursuant to Fed. R.
                              8   Civ. Proc. 12(b)(6) and the Request for Judicial Notice filed in support thereof (Dkt.
                              9   Nos. 35-36).
                           10              The Unrealistic Defendants will answer, move, or otherwise respond to
                           11     Plaintiffs’ Complaint on or before January 20, 2021, subject to Plaintiffs’ filing of
                           12     an amended complaint—which Plaintiffs have represented they intend to do—in
                           13     which case the Unrealistic Defendants will answer, move, or otherwise respond to
                           14     said amended complaint within the time required by law or as otherwise ordered by
                           15     this Court.
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                           18
                           19     Dated: December 18, 2020                LOEB & LOEB LLP
                           20
                                                                          By: /s/ David Grossman
                           21                                                David Grossman
                                                                             Kyle Petersen
                           22                                                Attorneys for Defendants
                                                                             Unrealistic Ideas, LLC; Piece of Work
                           23                                                Productions, LLC; and Archie Gips
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                                                                                        NOTICE OF WITHDRAWAL OF MOTION
      Loeb & Loeb
A Limited Liability Partnership
                                  19983835.1                                 2                               TO DISMISS
    Including Professional        236428-10001
         Corporations
